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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


 NAJEE SABREE BLACKMAN,                        )
                                               )
               Plaintiff,                      )
                                               )
        vs.                                    )        1:02-cv-1447-JDT-TAB
                                               )
 CITY OF KOKOMO, et al.,                       )
                                               )
               Defendants.                     )


                       ENTRY CONCERNING SELECTED MATTERS

        The court, having considered the above action and the matters that are pending
 before it rules as follows:
        1. Regarding the Plaintiff’s filing of October 6, 2005 (docket #119):
       a. The request for a docket sheet is granted. The Clerk shall include a copy of
 the CM/ECF docket sheet with the Plaintiff’s copy of this Entry.
       b. The request for a copy of Plaintiff’s Brief in Opposition to the Defendants’
 Consolidated Brief in Response to Plaintiff’s Motion for Partial Summary Judgment and
 Defendants’ Cross-Motion for Summary Judgment is granted. The Clerk shall include a
 copy of said brief (docket #116) with the Plaintiff’s copy of this Entry.
         c. The request for a copy of Plaintiff’s Motion for Partial Summary Judgment is
 also granted. The Clerk shall include a copy of said motion (docket #90) with the
 Plaintiff’s copy of this Entry.
       2. The Plaintiff’s Motion for Telephonic Conference (docket #112) is denied
 because a conference regarding discovery and other pending motions would not serve
 to advance the resolution of this action at the present time. The Plaintiff’s other various
 requests for an informal discovery conference also are denied for the same reason.
        3. Regarding the Plaintiff’s Letter Brief, filed July 5, 2005 (docket #94):
        a. The request for the court to file the attached Exhibit A, Motion for Entry of
 Default, is granted. The Clerk shall file that motion and return a file stamped copy to
 the Plaintiff along with this Entry. The motion is deemed filed as of this date. The
 Defendants are allowed until December 2, 2005, within which to respond to the Motion
 for Entry of Default.
      b. The request for the court to file the attached Exhibit B, Plaintiff’s Verified
 Response to Defendants’ Notice Regarding Resolution of Discovery Disputes, is
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 granted. The Clerk shall file that Verified Response and return a file stamped copy to
 the Plaintiff with this Entry. The Clerk also shall send to the Plaintiff file stamped copies
 of docket numbers 31, 40, 47, 49, 66, 67, 70 and 71, as requested in ¶ 3 of Plaintiff’s
 Verified Response.
         c. The request for the court to file the attached Exhibit C is denied because the
 documents included within Exhibit C (Plaintiff’s Motion for Partial Summary Judgment,
 Declaration in Support of Plaintiff’s Motion for Partial Summary Judgment, and Brief in
 Support of Plaintiff’s Motion for Partial Summary Judgment) already were filed with the
 court as docket numbers 90, 91 and 92. However, the Clerk shall send file stamped
 copies of document numbers 91 and 92 to the Plaintiff along with this Entry. (Paragraph
 1(c) of this Entry addresses document number 90.)
        4. In a letter filed August 17, 2005 (docket #107), the Plaintiff requests a file
 stamped copy of Plaintiff’s Motion for Enlargement of Time to File a Surreply and Cross-
 Motion for Summary Judgment. His request is granted and the Clerk shall send a copy
 of Plaintiff’s Motion for Enlargement of Time (docket #106) to the Plaintiff with this Entry.
        5. The Defendants’ Motion to Enlarge (docket #114) is granted. The
 Defendants have to and including December 2, 2005, within which to reply to Plaintiff’s
 Response to Defendants’ Statement of Material Facts in Dispute, which document was
 attached to Plaintiff’s Motion for Telephonic Conference, filed September 8, 2005.
          6. Regarding the Plaintiff’s Letter Brief and Request for Representation (docket
 #115):
        a. The Plaintiff’s renewed motion for appointment of counsel is denied because
 the Plaintiff has had a meaningful opportunity to present his claims; despite the alleged
 obstacles he faces, he has demonstrated an ability to present his claims to the court; he
 appears familiar with his claims; the issues in this case are not complex; and it does not
 seem that appointment of counsel would make a difference in the outcome of this case.
 See, e.g., Farmer v. Haas, 990 F.2d 319, 322 (7th Cir. 1993).
          b. The Plaintiff alleges that he is being denied meaningful access to the courts.
 To the extent he is attempting to bring an entirely new claim against persons not
 defendants in this action, it is noted that such allegations are not part of this case.
 Furthermore, it is noted that with this Entry the Clerk will provide the Plaintiff with copies
 of all the documents for which he has requested copies. Thus, all other relief requested
 in Plaintiff’s Letter Brief is denied.
        7. In a document entitled, Failure to Rule on Motions (docket #118), the Plaintiff
 requests a determination of whether the undersigned failed to rule on the Plaintiff’s
 Motion for Informal Conference to Settle Discovery Disputes in accordance with T.R.
 53.1 of the Indiana Rules of Court. Such request is denied. The Indiana Trial Rules
 are inapplicable in this federal district court. Moreover, Magistrate Judge Tim A. Baker
 held telephonic status conference on May 31, 2005, at which time a discussion was had
 regarding discovery. Thus, Plaintiff’s Motion for Informal Conference already, in effect,


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 was granted long before the filing of the Failure to Rule on Motions document.
 Accordingly, the Motion for Informal Conference (docket #74) is now denied as moot.
       8. The court will rule on all other pending motions in due course. It is the court’s
 understanding that the following motions are pending, though briefing may not be
 complete on all of them:
        a. Plaintiff’s Motion for Partial Summary Judgment (docket # 90),
      b. Defendants’ Motion to Reconsider Court’s Ruling on Defendants’ Motion to
 Quash Plaintiff’s Interrogatories (docket # 93),
        c. Plaintiff’s Motion for Relief from Judgment Order (docket #95),
        d. Defendants’ Cross-Motion for Summary Judgment (docket #97),
       e. Plaintiff’s Motion to Stay All Deadlines for the Resolution of Discovery
 Disputes (docket # 101),
       f. Plaintiff’s Motion for Enlargement of Time to File a Surreply and Cross-Motion
 for Summary Judgment (docket # 106).
       If either the Plaintiff or the Defendants believes that there are other pending
 motions awaiting a ruling from the court, then that party has ten (10) days from this
 date within which to file a document identifying any such motion(s) by name and docket
 number.

        ALL OF WHICH IS ORDERED this 10th day of November 2005.



                                           _______________________________
                                          John     Daniel Tinder, Judge
                                          United      States
                                              John Daniel        District
                                                           Tinder, Judge Court
                                             United States District Court


 Copies to:

 Donald B. Kite Sr.
 Schultz & Pogue
 dkite@schultzpoguelaw.com

 Najee Sabree Blackman
 Pro Se #110245
 Westville Correctional Facility
 P.O. Box 557
 Westville, IN 46391

 Magistrate Judge Tim A. Baker

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